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IN THE UNITED STATES DISTRICT CoURT -- -"»<\»
FoR THE wEsTERN DIsTRICT oF TENNESSEE § ;_ n m §
WESTERN DIvIsIoN " ' '~' f "? L+= 6 !

uNITED sTATEs oF AMERiCA, )

Plaintiff,
vs. )
AARON DEMAR BooNE,

Defendant. )

 

   

MOTION TO SUPPLEMENT RECORD

 

counsel, Robert C. Irby, and respectfully moves the Court for an Order directing that
the record established in the sentencing hearing which took place on May 18, 2005,
be opened and supplemented by allowing the filing of a letter (attached hereto as
Exhibit A) from his supervisor at his place of employment (Metal Prep II), as an

exhibit to the sente§g\i hearing Which took place on May 18, 2005.

G / Respectfully Subrnitted,
/ ' 5 "`“GC '
rim

%A/?C w

Roberc C. IrtTy, Aay., BPR008472 /
4345 Mallory Ave. East

Memphis, Tennessee 38111

901/682-7775

May 20, 2005

   
 

CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing Motion has been/will be hand-del-
ivered to the` office of Mr. Dan Newsom, Esq., AUSA, 167 North Main Street,
Memphjs, Tennessee 38103.

 

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%/Wc M

RObel't C. Irby
May 20, 2005

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TO WHOM IT MAY CONCERN:

Aaron Boone has been employed With Metal Prep II of
Memphis for a total of 16 months. He has continuously proven
to be an asset to the company over that period of time. Aaron
has a positive attitude toward co-Workers and is respectful of
company rules and regulations. Aaron’s ability to accept
constructive criticism and apply that toward his Work
performance is commendable Hi_s Work ethnic towards his
peers and/or supervisors is excellent Aaron Boones
immediate scheduled Work hours are 6:00 p.m. to 6:00 a.m.

For any questions or concerns contact Tim Bridgeforth at 946-
6100.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-202]7 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 381 ll

Honorable J on McCalla
US DISTRICT COURT

